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1    J. FRANK McCABE (SBN 48246)
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2    San Francisco, California 94111
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3    Facsimile: (415) 433-7258
4    Attorney for Defendant
     KEVIN THOMPSON
5
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                  OAKLAND DIVISION
11
12   UNITED STATES OF AMERICA,          )           NO. CR 06-0051 CW
                                        )
13               Plaintiff,             )           ORDER PERMITTING DEFENDANT
                                        )           THOMPSON TO TRAVEL OUTSIDE
14        v.                            )           NORTHERN DISTRICT OF
                                        )           CALIFORNIA
15   KEVIN THOMPSON, et al.,            )
                                        )
16               Defendants.            )
                                        )
17
18               GOOD CAUSE appearing therefor,
19               IT IS HEREBY ORDERED that defendant Kevin Thompson may
20   travel to the Central District of California to teach at a seminar
21   between April 13 and 18, 2006, and he may also travel to Boston for
22   a ministers’ conference between April 26 and 30, 2006.
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24   DATED:    April 5 , 2006.
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                                        HON. WAYNE D. BRAZIL
27                                      UNITED STATES MAGISTRATE JUDGE
28
     ORDER PERMITTING DEF THOMPSON TO TRAVEL
     OUTSIDE NORTHERN DISTRICT OF CALIFORNIA
